Case 1:12-cr-00160-JAW Document 178 Filed 08/26/13 Page 1 of 1     PageID #: 418




                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MAINE


UNITED STATES OF AMERICA              )
                                      )
      v.                              )    1:12-cr-00160-JAW-02
                                      )
RODNEY RUSSELL                        )


                  ORDER AFFIRMING THE
       RECOMMENDED DECISION OF THE MAGISTRATE JUDGE

      No objections having been filed to the Magistrate Judge’s Recommended

Decision filed August 5, 2013 (ECF No. 175), the Recommended Decision is

accepted.

      Accordingly, it is hereby ORDERED that the Defendant’s First Motion to

Dismiss (ECF No. 144), First Motion to Suppress (ECF No. 145), First Motion for

Discovery (ECF No. 146) and First Motion to Sever (ECF No. 147) be and hereby are

DENIED.


                               /s/ John A. Woodcock, Jr.
                               JOHN A. WOODCOCK, JR.
                               CHIEF UNITED STATES DISTRICT JUDGE

Dated this 26th day of August, 2013
